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DAVIDOFF HUTCHER & CITRON LLP
Attorneys for the Reorganized Debtor
605 Third Avenue
New York, New York 10158
(212) 557-7200
Robert L. Rattet, Esq.
Jonathan S. Pasternak, Esq.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X
In re:                                                        Post Confirmation
                                                              Chapter 11

L&L WINGS, INC.,                                              Case No.: 21-10795(DSJ)


                                    Debtor.
----------------------------------------------------------X

          DECLARATION CONCERNING DISBURSEMENTS OF THE DEBTOR
             FOR THE PERIOD OF APRIL 1, 2022 THROUGH MAY 2, 2022

        ARIEL LEVY, hereby declares and states as follows:

        1.       I am the CEO of L&L Wings, Inc. (the “Debtor”), and as such, I am fully familiar

with the facts herein.

        2.       On or about April 24, 2021, the Debtor filed a voluntary petition for reorganization

pursuant to Chapter 11 of the Bankruptcy Code. An Official Committee of Unsecured Creditors

was appointed during the Chapter 11 case.

        3.       The Court entered an order confirming the Debtor’s Third Amended Chapter 11

Plan of Reorganization (the “Plan”) on March 1, 2022.

        4.       The Debtor has recently substantially consummated the Plan within the meaning of

Section §1101(2) of the Bankruptcy Code.

        5.       The Debtor’s Chapter 11 case as closed pursuant to an order of the Bankruptcy

Court entered on May 3, 2022 at 8:09 a.m. [ECF Doc. 372].
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           6.       Pending closing of the Chapter 11 case, the Debtor is required to file quarterly

disbursements reports and pay all United States Trustee fees in connection with all disbursements

made by the Debtor up until the closing of the Chapter 11 Case.

           7.       This Declaration is submitted as a summary of the Debtor’s disbursements during

the period of April 1, 2022 through May 2, 2022 (the “Reporting Period”)1.

           8.       During the Reporting Period, the Debtor, both as disbursing agent under the Plan

and in the ordinary course of its business operations, disbursed the following amounts (the

“Disbursements”):

                    a.    April, 2022                                            $15,090,995.00

                    b.    May 1-2, 2022                                          $428,172.00

                    TOTAL:                                                       $15,519,167.00

           9.       A schedule of the Disbursements is annexed hereto as Exhibit A.

           10.      This is an accurate summary of the Debtor’s disbursements for the Reporting

Period.

Dated: New York, New York
       June 9, 2022

                                                               L&L WINGS, INC.


                                                               By:/s/ Ariel Levy
                                                                  Ariel Levy, CEO




1
    The Debtor hereby declares that it made no disbursements on May 3, 2022 prior to 8:09 a.m.
